                          UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF CALIFORNIA

In re: Anthony Scott Levandowski                                Case No.: 20-30242



                         Debtor(s)       /


                             CREDITOR MATRIX COVER SHEET

                                                                              2
        I declare that the attached Creditor Mailing Matrix, consisting of ____    sheets, contains the
correct, complete and current names and addresses of all priority, secured and unsecured creditors listed
in debtor=s filing and that this matrix conforms with the Clerk=s promulgated requirements.

DATED:


                                           /s/ Dara Silveira, Cal. Bar No. 274923
                                        _____________________________________
                                        Signature of Debtor=s Attorney or Pro Per Debtor




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250 Fawn Park, LLC                                    Marin Horizon School
St. Helena, CA 94574                                  305 Montford Avenue
                                                      Mill Valley, CA 94941

Apple Pay
Lockbox 6112                                          Marin Municipal Water
PO Box 7247                                           220 Nellen Ave.
Philadelphia, PA 19170-6112                           Corte Madera, CA 94925


Bay Cities Refuse                                     Marin Pool Service
2525 Garden Tract Rd                                  150 Ford Way
Richmond, CA 94801                                    Suite 100B
                                                      Novato, CA 94945

Chase
P.O. Box 15298                                        Network Solutions
Wilmington, DE 19850-5298                             5335 Gate Parkway
                                                      Jacksonville, CA 32256

Farmer's Insurance
670 West Napa Street                                  Pacific Gas and Electric Company
Suite J                                               P.O. Box 997300
Sonoma, CA 95476                                      Sacramento, CA 95899


Finemann PR                                           Protector Boats Service Center
530 Bush Street #403                                  790 National Court
San Francisco, CA 94108                               Richmond, CA 94804


Franchise Tax Board Personal                          Ramsey & Ehrlich LLP
Bankruptcy MS A340 PO Box                             803 Hearst Avenue
2952                                                  Berkeley, CA 94710
Sacramento, CA 95812-2952

                                                      Reevemark
Goodwin Procter LLP                                   261 Madison Avenue
601 Marshall Street                                   6th Floor
Redwood City, CA 94063                                New York, NY 10016


Google LLC                                            Signalare
Keker & Van Nest LLP                                  1655 Oak Ave.
633 Battery Street                                    St. Helena, CA 94575
San Francisco, CA 94111-1809

                                                      Stefanie Olsen
Internal Revenue Service                              Redacted
P.O. Box 7346
Philadelphia, PA 19101-7346
                                                      Uber Technologies, Inc.
                                                      Boies Schiller Flexner LLP
Intuit Quickbooks                                     1401 New York Ave, NW
2700 Coast Ave                                        Washington, DC 20005
Mountain View, CA 94043

                                                      Verizon Wireless
L&L Property Management 212                           1095 Avenue of the Americas
Caledonia Street                                      New York, NY 10036
Sausalito, CA 94965




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Victoria Pacchiana
38 Miller Ave.
Suite 20
Mill Valley, CA 94941


Wells Fargo
PO Box 10347
Des Moines, IA 50306-0347




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